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                           UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF COLORADO

 In re:                           )
                                  )                     Case No. 20-17282 TBM
 TOP THAT COMMERCIAL ROOFING INC. )
                                  )                     Chapter 11
                     Debtor.      )


  OBJECTION TO CLAIM NO. 1-1 OF BEACON BUILDING PRODUCTS PURSUANT
               TO FED.R.BANKR.P. 3007(a) AND L.B.R. 3007-1


        Top That Commercial Roofing, Inc (the “Debtor”), by and through its counsel, Wadsworth
 Garber Warner Conrardy, P.C., files this Objection to Claim No. 1-1 of Beacon Building Products
 Pursuant to Fed.R.Bankr.P. 3007(a) and L.B.R. 3007-1, and in support thereof states as follows:

         1.    Debtor filed its voluntary petition for relief under chapter 11 of title 11 of the United
 States Code (“Bankruptcy Code”) on November 6, 2020 (the “Petition Date”). On June 25, 2021,
 the Court entered its Order Confirming Debtor’s Amended Plan of Reorganization for Small
 Business and Order to Debtor Regarding Filing Notice of Substantial Consummation. Docket No.
 231.

         2.     On November 9, 2020, Beacon Building Products filed Claim 1-1 (the “Claim”) as
 it has been denominated in the official claims register for this case. The Claim is an unsecured
 claim in the amount of $37,425.83 for “Goods sold.” The Claim is not accompanied by any
 supporting documentation.

        3.      The Claim should be disallowed in its entirety because it lacks any supporting
 documentation. In re Kirkland, 572 F.3d 838, 840-841 (10th Cir. 2009) (proof of claim filed
 without any supporting documentation disallowed after trustee objected, and creditor never
 presented any evidence of claim).

          4.    Should the Claim be amended, Debtor reserves all rights to amend this objection.

        WHEREFORE, Debtor respectfully requests that this Court enter an order in the form
 attached hereto sustaining the objection, entirely disallowing the Claim, and granting such other
 and further relief as the Court deems proper.
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      DATED this 8th day of September 2021.

                                 Respectfully submitted,

                                 WADSWORTH GARBER WARNER CONRARDY, P.C.

                                 /s/ Aaron J. Conrardy
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